                        UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN, MILWAUKEE DIVISION

ROBERT LEE STINSON,
          Plaintiff,

v.                                                          Case No.: 09 CV 01033

THE CITY OF MILWAUKEE,
JAMES GAUGER,
other AS-OF-YET UNKNOWN EMPLOYEES
 OF THE CITY OF MILWAUKEE,
DR. LOWELL T. JOHNSON, and
DR. RAYMOND D. RAWSON,
             Defendants.


            DEFENDANTS’ NOTICE OF MOTION & MOTION TO EXCLUDE
                  THE TESTIMONY OF PLAINTIFF’S EXPERTS


       PLEASE TAKE NOTICE that upon the Rule 702 motions filed jointly by all defendants,

along with their accompanying affidavits, the defendants, by their attorneys, will move this Court

before the Honorable Pamela Pepper, United States District Judge, at the United States

Courthouse for the Eastern District of Wisconsin, located at 517 E. Wisconsin Ave., Milwaukee,

WI, at a time established by the Court, for an ORDER excluding certain testimony of plaintiff’s

experts.




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       Dated this 6th day of November, 2018.

                                   OTJEN, GENDELMAN, ZITZER, JOHNSON
                                    & WEIR, S.C.
                                   Attorneys for Defendant Dr. Lowell T. Johnson


                                   s/ Jason J. Franckowiak
                                   Jason J. Franckowiak, State Bar No. 1030873
                                   Email: jfranckowiak@otjen.com

P.O. ADDRESS:
20935 Swenson Drive
Suite 310
Waukesha, WI 53186
Ph: 262 777-2200


       Dated this 6th day of November, 2018.

                                   MILWAUKEE CITY ATTORNEY’S OFFICE
                                   Attorneys for Defendants James Gauger & City of
                                   Milwaukee



                                   s/ Jan A. Smokowicz
                                   Jan A. Smokowicz, State Bar No. 1008429
                                   Email: jsmoko@milwaukee.gov

P.O. ADDRESS:
200 E. Wells Street, Room 800
Milwaukee, WI 53202-3551
Ph: 414 286-2601

       Dated this 6th day of November, 2018.

                                   SIESENNOP & SULLIVAN
                                   Attorneys for Defendant Dr. Raymond Rawson



                                   s/ Ellison F. Hitt
                                   Ellison F. Hitt, State Bar No. 1085269
                                   Email: EFH1@s-s-law.com

P.O. ADDRESS:
111 W. Pleasant St., Suite 110
Milwaukee, WI 53212
Ph: 414 223-1720



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